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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA

 MICHAEL JONES                                                   CIVIL ACTION
 VERSUS                                                          NO. 13-15
 GHIRARDI MARINE AGENCY, INC.                                    SECTION "N" (1)

                                       JUDGMENT

       For the reasons set forth in the Court's Order and Reasons dated April 25, 2013 (Rec. Doc.

No. 15); accordingly,

               IT IS ORDERED, ADJUDGED, AND DECREED that there be judgment in favor

of defendant, Ghirardi Marine Agency, Inc., and against plaintiff, Michael Jones, dismissing

plaintiff's claims with prejudice.

       New Orleans, Louisiana, this   5th   day of June, 2013.




                                                        KURT D. ENGELHARDT
                                                   UNITED STATES DISTRICT JUDGE
